
Titus, J.
This action, in form, is against Timothy J. Cronan and Neptune Lodge No. 57, Empire Order of Mutual Aid, but is, in fact, against Timothy J. Cronan, the beneficiary named in the certificate. ■ The defendant Empire Order of Mutual ‘ Aid does not defend nor claim exemption from the payment of the money, $1,000, to the person designated in the certificate, but comes into court, and by its treasurer disavows any claim to the fund, and is ready and willing to pay to whomsoever the court determines is entitled to it.
The claim of the plaintiff is that the fund in the hands of the defendant Cronan is impressed with a trust to pay the plaintiff and other creditors of Daniel Cronan; that the money was made payable to Timothy J. Cronan by the deceased, for the express purpose, and with the understanding of the defendant Cronan that it should be applied by him in the payment of his debts and funeral expenses. From the evidence in the case, I am satisfied that such was the agreement and intent with which Timothy J. Cronan was made the payee in the beneficiary certificate. Such being the case equity will enforce the trust, and charge the fund in the hands of the defendant Cronan, with the payment of the debts and funeral expenses of the deceased. The authorities cited by the defendant do not militate against this proposition, as the facts in this case take it out of the rule invoked by the defendant. They in substance lay down the rule that monies received by a beneficiary certificate are not assets of the deceased, and not subject to the payment of his debts as against the beneficiary. In this case, the deceased has by agreement made the fund payable to the defendant Cronan, for the express purpose of paying creditors; the defendant therefore is a mere trustee to effectuate that purpose, and has no claim on the fund as against the plaintiff and those creditors who were mentioned, and for whose benefit the fund was created.
The facts although meagre, are sufficient to establish the plaintiff’s right to recover. Judgment is ordered for the amount claimed by the plaintiff, with interest and costs, and the Empire Order of Mutual Aid is directed to pay the plaintiff that amount, and the balance to the defendant Cronan to pay debts and funeral expenses.
